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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------- X
                                                           :
 UNITED STATES OF AMERICA,                                 :
                                                           :
                       - against –                         : MEMORANDUM DECISION AND
                                                           : ORDER
 MARK NORDLICHT,                                           :
 DAVID LEVY,                                               : 16-cr-00640 (BMC)
 DANIEL SMALL,                                             :
 JOSEPH MANN,                                              :
 JOSEPH SANFILIPPO, and                                    :
 JEFFREY SHULSE,                                           :
                                                           :
                            Defendants.                    :
----------------------------------------------------------- X

COGAN, District Judge.

       Defendants have moved to dismiss the indictment or, in the alternative, to suppress

materials withheld from defendants and preclude certain cooperating witnesses from testifying.

Defendants also request hearings in connection with these requests. For the reasons stated

below, defendants’ motion is denied.

                                       BACKGROUND

       The following facts are taken from defendants’ motion to dismiss for prosecutorial

misconduct and from other documents filed with the Court. Defendants argue three ways in

which the Government has engaged in prosecutorial misconduct: first, it failed to properly

disclose material under Brady v. Maryland, 373 U.S. 83 (1963); second, the Government made

misrepresentations to the Court in two ex parte applications; and third, the Government made

misrepresentations to the Court and to defendants about its Rule 16 discovery.

       Defendants’ allegations are based on the following events:

   •   On December 14, 2016, defendants were indicted.
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   •   On March 27, 2017, the Government assured the Court and defendants during a status
       conference that it would produce any material under Brady but did not specify the
       timeframe for its production of Brady material.

   •   On May 12, 2017, during a status conference, the Court ordered the Government to
       review its records for Brady material and provide a letter to the Court by June 30, 2017
       with a status report. The Government claimed that the “vast majority” of its Rule 16
       discovery had been produced.

   •   On June 30, 2017, the Government provided a letter to the Court indicating that it
       reviewed its records and provided Brady material regarding four individuals.

   •   On July 5, 2017, defendant Levy wrote a letter to the Government requesting all material
       under Brady and its progeny, including 44 categories of Brady material. Two days later,
       the Court ordered the Government to respond to each request for the 44 categories of
       Brady material by July 28, 2017.

   •   On July 28, 2017, the Government replied to the July 5, 2017 letter, responded to each
       request for each category of Brady material that defendant Levy identified, and indicated
       that there was no additional Brady material to disclose.

   •   Around August 2017, a cooperating witness interacted with a man in his religious
       community who heard that the witness was cooperating with the Government in this case.
       The Government described this incident in the April 2, 2018 ex parte application to the
       Court described below.

   •   On August 8, 2017, defendant Nordlicht sent a letter to the same cooperating witness
       identified above about statements that the witness made to the Government. The
       Government obtained this letter and provided it to the Court the next day.

   •   On August 25, 2017, the Government made an ex parte application to the Court to defer
       disclosure of Rule 16 materials for four cooperating witnesses until three months before
       jury selection to protect the safety of those four witnesses and their families. In its
       application, the Government claimed that these cooperating witnesses expressed fear that
       they would be subject to ostracism and harassment if their cooperation against fellow
       members of their religious community was revealed. The Court granted this application
       in an ex parte order three days later.

   •   On August 28, 2017, the Government confirmed during a status conference that it would
       provide any Brady material it uncovers.

   •   On October 17, 2017, the Government reiterated during a status conference that it
       produced “the vast majority of everything” in the Government’s possession.




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   •   On November 27, 2017, the Government claimed during a status conference that there
       would be no additional non-privileged productions from the search of Platinum Partners’
       offices, but the Government will be producing “non-voluminous” nonparty productions.

   •   On April 2, 2018, the Government filed an ex parte application to delay its disclosure of
       Section 3500 material for sensitive witnesses until 30 days before trial on a similar basis
       as the August 25, 2017 ex parte application. The Court denied this application during a
       status conference held on April 9, 2018.

   •   On June 29, 2018, the Government informed the Court and defendants during a status
       conference that the Government was “up to date” with discovery and confirmed the
       Court’s understanding that there would not be “any more 120,000-document productions
       to occur in the case at this stage.” The Court also ordered the Government to provide its
       Section 3500 material 75 days in advance of trial.

   •   On September 21, 2018, the Government stated during a status conference that there were
       only “minimal productions left to be made.”

   •   On October 5, 2018, the Government informed defendants that it had withheld Rule 16
       materials, including close to 300,000 pages of documents and numerous recordings,
       under the ex parte order allowing defendants to defer production of Rule 16 material until
       three months before trial. Three days later, defendants could order the documents from
       the Government’s vendor.

   •   On October 24, 2018, the Government produced its Section 3500 material, including
       witness statements from 122 witnesses, consistent with the Court’s order to produce the
       Section 3500 material 75 days before trial. Defendants describe this production as
       “voluminous” but do not provide further information about the size of the production.
       Defendants claim that these statements contain Brady material that had not been
       previously disclosed and that is responsive to defendant Levy’s July 5, 2017 request.

   •   Trial was originally scheduled to begin on January 7, 2019. It was adjourned on
       November 30, 2018.

   •   Trial is scheduled to begin on February 19, 2019.

                                          DISCUSSION

       Dismissal of an indictment due to prosecutorial misconduct is appropriate “only in very

limited and extreme circumstances” in which “there [is] a need either to eliminate prejudice to a

defendant in a criminal prosecution, where it [is] impossible to do so by imposition of lesser

sanctions, or to deter a pattern of demonstrated and longstanding widespread or continuous



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official misconduct.” United States v. Broward, 594 F.2d 345, 351 (2d Cir. 1979). But “absent

demonstrable prejudice, or substantial threat thereof, dismissal of the indictment is plainly

inappropriate, even though the violation may have been deliberate.” United States v. Morrison,

449 U.S. 361, 668 (1981). “Because of this exacting standard, courts rarely dismiss indictments

based on governmental misconduct.” United States v. Turner, 23 F.Supp.3d 290, 319 (S.D.N.Y.

2014).

             I. Brady Material

         Under Brady, the Government is required to disclose material evidence favorable to a

criminal defendant. The Government violates Brady if it suppresses evidence, either willfully or

inadvertently; the evidence is favorable to the accused; and prejudice ensued. See Strickler v.

Greene, 527 U.S. 263, 281 (1999). Because prejudice is required for a Brady violation, “there is

never a real ‘Brady violation’ unless the nondisclosure was so serious that there is a reasonable

probability that the suppressed evidence would have produced a different verdict.” Id. at 281-82.

         For that reason, Brady does not require the disclosure of evidence before trial. Leka v.

Portuondo, 257 F.3d 89, 100 (2d Cir. 2001). “[A]s long as a defendant possesses Brady evidence

in time for its effective use, the government has not deprived the defendant of due process of law

simply because it did not produce the evidence sooner.” U.S. v. Coppa, 267 F.3d 132, 144 (2d

Cir. 2001); see Leka, 257 F.3d at 100 (holding that the Government’s disclosure, nine days

before trial, of Brady material consisting of the name and address of a witness of whom the

defense was not aware violated Brady because this disclosure was too late for defendants to

effectively use the material). 1


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 It is well established that the Government’s obligations under Brady extend to material impeachment evidence.
See Giglio v. United States, 405 U.S. 150, 154 (1972). It is also well-established that “there is no pretrial
constitutional right to disclosure of Giglio material.” U.S. v. Jacques Dessange, Inc., No. 99-CR-1182, 2000 WL
280050, at *9 (S.D.N.Y. Mar. 14, 2000). Defendants do not explicitly contend that the Government has withheld


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         Here, even assuming that the Government’s production of Section 3500 material

contained Brady material, the Government produced it approximately three months before the

original trial date and approximately four months before the current trial date. Defendants have

ample time to make effective use of these materials, to the extent they have not already. Other

than timing, defendants cannot point to any other identifiable prejudice that they have faced.

The Court cannot say, then, that the Government has violated its Brady obligations merely by not

producing this material earlier. As a result, the Government’s production of Brady material in its

production of Section 3500 material does not provide a basis to dismiss the indictment or

suppress the materials contained in the deferred production. 2

         Defendants also claim that, separate from whether there was a Brady violation, the

Government made affirmative misrepresentations to the Court in response to the Court’s orders

directing the Government to review its files and produce Brady materials, and for that reason the

indictment should be dismissed. Defendants have not provided sufficient evidence for the Court

to conclude that the Government possessed – but chose not to disclose – Brady material at the

time it made its representations to the Court. The Court will not infer that the Government acted

in bad faith without more convincing evidence.

             II. Ex Parte Applications

         The Government has stated, and continues to maintain, that the cooperating witnesses

have expressed concerns that they would be subject to ostracism and harassment in their

community if their cooperation with the Government was revealed. But the Government has not

provided any evidence to this effect – only its representations of what the cooperating witnesses



any Giglio material here, but to the extent their motion can be read to include Giglio material, the same analysis
would apply.




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told the Government – because those statements were never memorialized. As a result,

defendants argue that these ex parte representations to the Court regarding the threats to witness

safety were false.

       The Government’s position would be stronger if it could point to tangible evidence that

the witnesses expressed the concerns the Government attributes to them. But the absence of such

evidence does not warrant dismissal of the indictment. Although these statements are not

contained in any writing that the Government has identified, the Government insists that they

were made. And although the Government’s failure to memorialize the statements that its

cooperating witnesses made is not a best practice, the Court will not presume that the

Government acted in bad faith in its ex parte applications to the Court without further evidence.

       Once again, defendants received the deferred Rule 16 production sufficiently in advance

of trial to obviate any prejudice resulting from the delayed disclosure of these materials.

Therefore, neither dismissing the indictment nor precluding the cooperating witnesses or related

material is warranted.

           III. Rule 16 Discovery

       Before the Government made its deferred Rule 16 production to defendants under the ex

parte applications discussed above, it repeatedly misrepresented the scope of its outstanding

discovery to the Court and to defendants. The Government claimed that any remaining

productions were “minimal” and were limited to nonparty productions, when in fact it later

produced close to 300,000 pages and numerous records that it deferred under the ex parte order.

       The Government argues that it would have defeated the purpose of the ex parte

applications and order if the Government publicly referenced the deferred Rule 16 production.

But the order did not authorize the Government to misrepresent the scope of its remaining




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productions. The Government could have accurately represented the anticipated scope of future

productions without revealing that these documents relate to the cooperating witnesses who were

subject to the ex parte order. There are many ways to address ex parte discovery applications

without revealing their contents, to avoid this precise situation. At the very least, the

Government could have provided ex parte communications to the Court explaining that public

representations about the remaining discovery did not include documents subject to the ex parte

order.

          Although the Court does not appreciate the Government’s lack of candor, the

Government’s conduct does not warrant the dismissal of the indictment. Defendants received the

Rule 16 materials over four months before trial, so they have not shown the necessary prejudice

required for dismissal of the indictment or to preclude the materials from trial. But the

Government is strongly cautioned to be candid in all representations it makes to the Court in the

future.

             IV. Request for Hearings

          The “key determinant in whether a hearing is required” to decide a motion to dismiss for

prosecutorial misconduct “is whether, given the nature and circumstances of the case, the parties

had a fair opportunity to present relevant facts and counter the opponent’s submissions,”

including the opportunity to brief the relevant issues. United States v. Walters, 910 F.3d 11, 29

(2d Cir. 2018) (internal quotation marks and alterations omitted). No hearing is required “where

the relevant facts can be ascertained from the record.” U.S. v. Pavloyianis, 996 F.2d 1467, 1475

(2d Cir. 1993).

          Defendants request to be heard ex parte to detail for the Court the full scope of Brady

material they allegedly received in connection with the Section 3500 material. The Court




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recognizes that defendants would like an opportunity to explain further (in a way that will not

show their hand to the Government) how this delayed disclosure of Brady material prejudices

them, but because defendants have not suffered any prejudice due to the timing of the

productions of the relevant material, any additional details about the contents of the production

would not change the outcome.

       Defendants also request a hearing regarding the Government’s assertions in support of its

ex parte applications. But the parties had ample opportunity to brief the Government’s alleged

misconduct with respect to the ex parte applications, as their extensive and detailed briefing

demonstrates. The Court has also heard the parties’ views on this issue in status conferences and

prior submissions with the Court. Defendants have not shown that there are additional facts to

add to the record, and there is no need for a hearing for the parties to reargue these same

positions.

       Defendants’ request for these hearings is therefore denied.

                                         CONCLUSION

       Defendants’ [443] motion to dismiss for prosecutorial misconduct is denied.

SO ORDERED.
                                      Digitally signed by Brian M.
                                      Cogan
                                                      U.S.D.J.


Dated: Brooklyn, New York
       January 15, 2019




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